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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                     CASE NO. 13-CR-20156
v.                                                   HONORABLE GEORGE CARAM STEEH

D-9 DANNY JUAREZ,

                     Defendant.
                                        /

                   ORDER DENYING WITHOUT PREJUDICE
              DEFENDANT’S REQUEST FOR EVIDENTIARY HEARING

       Defendant has filed a motion to suppress wiretap evidence and seeks an evidentiary

hearing on the issue of whether the government failed to minimize non-incriminating calls

and either deliberately or recklessly filed false or misleading reports as to the number of

calls minimized. After reviewing defendant’s motion and the government’s response, it

does not appear at this time that an evidentiary hearing is warranted and the government

can respond by proffer, declaration, and argument at the hearing scheduled for May 11,

2015. The court may revisit the question of whether an evidentiary hearing is necessary

at that motion hearing. Accordingly, defendant’s motion for an evidentiary hearing (Doc.

258) hereby is DENIED WITHOUT PREJUDICE.

       IT IS SO ORDERED.

Dated: May 1, 2015
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                         May 1, 2015, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk
